Case 1:24-cr-00433-NGG-JRC                      Document 1     Filed 10/24/24               FILED
                                                                                 Page 1 of 54 PageID #: 1
                                                                                    IN CLERK'S OFFICE U.S.
                                                                                       DISTRICT COURT
                                                                                           E.D.N.Y.
                                                                                      *OCTOBER 24, 2024 *
                                                                                      BROOKLYN OFFICE
   HDM:SME/MRG/SJ/AT
   F.#2022R00935

   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   - - - - - - - - - - - - - - - - - - - - - - - -- - - -X

   UNITED STATES OF AMERICA                                  INDICTMENT

             - against -                                     Cr. No. 24-CR-433
                                                             (T. 15, U.S.C., §§ 78j(b) and 78ff; T. 18,
   GAUTAM S. ADANI,                                           U.S.C., §§ 371, 981(a)(l)(C), 982(a)(2)(A),
   SAGAR R. ADANl,                                            982(b)(l), 1349, 1512(k),2,3238and3551 et
   VNEET S. JAAIN,                                            ~-; T. 21, U.S.C., § 853(p); T. 28, U.S.C.,
   RANJIT GUPTA,                                              § 2461(c))
   CYRIL CABANES,                                            Judge Nicholas G. Garaufis
   SAURABH AGARWAL,                                          Magistrate Judge James R. Cho
   DEEPAK MALHOTRA and
   RUPESH AGARWAL,

                                   Defendants.

   ----------------------------X
   THE GRAND JURY CHARGES:

                       At all times relevant to this Indictment, unless otherwise stated:

   I.        Background

             A.        Overview

                       1.        In or about and between 2020 and 2024, senior executives of (i) an Indian

   renewable-energy company, which was a portfolio company of an Indian conglomerate; (ii) an

    issuer company that operated in the renewable-energy sector whose securities were traded on a

    United States exchange; and (iii) that issuer's largest shareholder, a Canadian institutional

    investor, participated in a scheme to bribe Indian government officials to ensure the execution of

    lucrative solar energy supply contracts with Indian government entities. During the same period,

    senior executives of the Indian renewable-energy company (i) conspired to misrepresent the
Case 1:24-cr-00433-NGG-JRC            Document 1        Filed 10/24/24       Page 2 of 54 PageID #: 2




   company's anti-bribery practices to United States-based investors and international financial

   institutions and (ii) concealed from those same investors and institutions their bribery of Indian

   government officials to obtain billions of dollars in financing for green energy projects, including

   the corrupt solar energy supply contracts. In addition, senior executives of the issuer company

   and its Canadian institutional investor conspired to obstruct the United States government's

   investigations into the bribery scheme.

          B.      Entities Associated with the Defendants

                  2.      The "Conglomerate" 1 was a diversified, multinational organization, which

   had its corporate offices in India. The Conglomerate was one oflndia's largest business

   organizations and was comprised of portfolio companies, including the "Indian Energy

   Company."

                  3.      The "Indian Energy Company" was a renewable-energy company

   operating and headquartered in India. The Indian Energy Company was a portfolio company of

   the Conglomerate, and its securities were publicly traded in India.

                  4.      The "U.S. Issuer" was a renewable-energy company incorporated in

   Mauritius. The U.S. Issuer had securities that were registered pursuant to Section 12 of the

   Securities Exchange Act of 1934 (Title 15, United States Code, Section 781) and traded on the

   New York Stock Exchange until approximately November 2023. The U.S. Issuer was required

   to file periodic reports with the United States Securities and Exchange Commission ("SEC")




          The identity of the Conglomerate and all other anonymized entities and individuals
   discussed herein are known to the Grand Jury.
                                                  2
Case 1:24-cr-00433-NGG-JRC           Document 1         Filed 10/24/24      Page 3 of 54 PageID #: 3




   until approximately April 2024. The U.S. Issuer was an "issuer," as that term is used in the

   Foreign Corrupt Practices Act ("FCPA"), Title 15, United States Code, Section 78dd-l(a).

                   5.    The "U.S. Issuer's Subsidiary" was a majority-owned and controlled

   subsidiary of the U.S. Issuer headquartered in India that built and operated renewable-energy

   projects in India. The U.S. Issuer's Subsidiary was an "agent" of an issuer, the U.S. Issuer, as

   that term is used in the FCPA, Title 15, United States Code, Section 78dd-l(a), until

   approximately April 2024. For purposes of sections IV through V of this Indictment only, the

   term "U.S. Issuer" encompasses the "U.S. Issuer," the "U.S. Issuer's Subsidiary" and the other

   wholly or majority-owned subsidiaries of the two entities.

                   6.     The "Canadian Investor" was an institutional investor headquartered in

   Canada that managed funds for Canadian public retirement and insurance plans.

                   7.     The "Canadian Investor's Subsidiary" was a wholly-owned subsidiary of

   the Canadian Investor. The Canadian Investor's Subsidiary was the U.S. Issuer's majority

   stockho Ider.

           C.      The Defendants

                   8.     The defendant GAUTAM S. ADAN! was a citizen of India who resided in

   India. GAUTAM S. ADANI was the Founder of the Conglomerate. The Conglomerate included

   numerous portfolio companies, including the Indian Energy Company. GAUTAM S. ADAN!

   served as the Chairman and as a Non-Executive Director of the Indian Energy Company's Board

   of Directors.

                   9.     The defendant SAGAR R. ADANI was a citizen oflndia who resided in

   India and was the defendant GAUTAM S. ADANI's nephew. From approximately October


                                                    3
Case 1:24-cr-00433-NGG-JRC           Document 1         Filed 10/24/24      Page 4 of 54 PageID #: 4




   2018 through the present, SAGAR R. ADANI was the Executive Director of the Indian Energy

   Company's Board of Directors.

                  10.    The defendant VNEET S. JAAIN was a citizen of India who resided in

   India. From approximately July 2020 through May 2023, JAAIN was the Chief Executive

   Officer ("CEO") of the Indian Energy Company. From approximately July 2020 through the

   present, JAAIN was the Managing Director of the Indian Energy Company's Board of Directors.

                  11.    The defendant RANJIT GUPTA was a citizen of India who resided in

   India. From approximately July 2019 through April 2022, GUPTA was the CEO of the U.S.

   Issuer and the CEO and Managing Director of the U.S. Issuer's Subsidiary. GUPTA was an

   "officer," "employee" and "agent" of an issuer, the U.S. Issuer, as those terms are used in the

   FCPA, Title 15, United States Code, Section 78dd- l (a).

                  12.    The defendant CYRIL CABANES was a citizen of Australia and France

   who resided in Singapore. From approximately February 20 I 6 through October 2023,

   CABANES was employed by a company associated with the Canadian Investor and, from

   approximately January 2017 through October 2023, was a Non-Executive Director of the Boards

   of Directors of the U.S. Issuer and the U.S. Issuer's Subsidiary. CABANES was a "director" of

   an issuer, the U.S. Issuer, as that term is used in the FCPA, Title 15, United States Code, Section

    78dd-l(a).

                  13.     The defendant SAURABH AGARWAL was a citizen oflndia who

   resided in India. From approximately May 2017 through July 2023, SAURABH AGARWAL

    was employed by a company associated with the Canadian Investor and reported to the defendant




                                                    4
Case 1:24-cr-00433-NGG-JRC           Document 1           Filed 10/24/24   Page 5 of 54 PageID #: 5




   CYRIL CABANES. SAURABH AGARWAL was a "person," as that term is used in the FCPA,

   Title 15, United States Code, Section 78dd-3(a).

                  14.     The defendant DEEPAK MALHOTRA was a citizen of India who resided

   in India. From approximately September 2018 through October 2023, MALHOTRA was

   employed by a company associated with the Canadian Investor and, from approximately

   November 2019 through October 2023, was a Non-Executive Director of the Boards of Directors

   of the U.S. Issuer and the U.S. Issuer's Subsidiary. MALHOTRA was a "director" of an issuer,

   the U.S. Issuer, as that term is used in the FCPA, Title 15, United States Code, Section 78dd-

    l (a).

                   15.    The defendant RUPESH AGAR WAL was a citizen oflndia who resided

    in India. From approximately the spring of 2022 to July 2022, RUPESH AGARWAL was a

   consultant for the U.S. Issuer and the U.S. Issuer's Subsidiary. From approximately July 2022 to

   August 2022, RUPESH AGARWAL was the Chief Strategy and Commercial Officer for the

   U.S. Issuer and the U.S. Issuer's Subsidiary. From approximately August 2022 through July

    2023, RUPESH AGARWAL was the acting CEO of the U.S. Issuer and the U.S. Issuer's

    Subsidiary. RUPESH AGARWAL was an "officer," "employee" and "agent" of an issuer, the

    U.S. Issuer, as those terms are used in the FCPA, Title 15, United States Code, Section 78dd-

    l(a).

             D.   Relevant Individuals and Entities

                   16.    Co-Conspirator #1 was a citizen of the United Kingdom who resided in

    Hong Kong. From approximately October 2021 through October 2023, Co-Conspirator # 1 was

    the Non-Executive Chairman of the U.S. Issuer's and the U.S. Issuer's Subsidiary's Boards of


                                                      5
Case 1:24-cr-00433-NGG-JRC              Document 1       Filed 10/24/24      Page 6 of 54 PageID #: 6




   Directors. Co-Conspirator #I was a "director" and "agent" of an issuer, the U.S. Issuer, as those

   terms are used in the FCPA, Title 15, United States Code, Section 78dd-l (a).

                   I 7.    Co-Conspirator #2 was a citizen of India who resided in India. From

   approximately July 20 I 9 through April 2022, Co-Conspirator #2 held high-ranking executive

   positions at the U.S. Issuer and the U.S. Issuer's Subsidiary. Co-Conspirator #2 was an

   "officer," "employee" and "agent" of an issuer, the U.S. Issuer, as those terms are used in the

   FCPA, Title 15, United States Code, Section 78dd-l(a).

                   18.     Foreign Official # I was a citizen of India who resided in India. From

   approximately May 20 I 9 through June 2024, Foreign Official # 1 served as a high-ranking

   government official of Andhra Pradesh, India. Foreign Official #1 was a "foreign official," as

   that term is used in the FCPA, Title I 5, United States Code, Sections 78dd- I (f)( I )(A) and 78dd-

   3(f)(2)(A).

                   I 9.    The Solar Energy Corporation of India ("SECI") was a company of the

    Ministry of New and Renewable Energy under the central government of India whose mission

    was, among other things, to increase the use of renewable-energy in India. SECI was state-

    owned and state-controlled and performed a function that India treated as its own. SECI was an

    "instrumentality" of the Indian government, and SECI's officers and employees were "foreign

    officials," as those terms are used in the FCPA, Title 15, United States Code, Sections 78dd-

    l (f)(l )(A) and 78dd-3(f)(2)(A).

                   20.     The country of India was comprised of numerous states and regions (also

    referred to as union territories), including Chhattisgarh, Tamil Nadu, Odisha, Jammu and

    Kashmir and Andhra Pradesh, which were governed by their own respective state and union


                                                     6
Case 1:24-cr-00433-NGG-JRC            Document 1          Filed 10/24/24    Page 7 of 54 PageID #: 7




   governments. Generally, the governing bodies of the states and union territories included a chief

   minister and council of ministers. These governing bodies were "department[s]" and

   "agenc[ies]" of the Indian government, and the officers and employees of these governing bodies

   were "foreign officials," as those terms are used in the FCPA, Title 15, United States Code,

   Sections 78dd- l (t)(l )(A) and 78dd-3(t)(2)(A).

                   21.     The Chhattisgarh State Power Distribution Company Limited, Tamil Nadu

   Generation and Distribution Corporation Limited, GRIDCO Limited, Jammu Kashmir Power

   Corporation Limited, Andhra Pradesh Central Power Distribution Corporation Limited, Andhra

   Pradesh Eastern Power Distribution Company Limited and Andhra Pradesh Southern Power

   Distribution Company Limited (collectively, the "State Distribution Companies") were

   electricity distribution companies in India that were state-owned and state-controlled and

   performed functions that the state governments in India treated as their own. The State

   Distribution Companies were "instrumentalities" of the Indian government, and their officers and

   employees were "foreign officials," as those terms are used in the FCPA, Title 15, United States

    Code, Sections 78dd-l (t)(l )(A) and 78dd-3(t)(2)(A).

   II.     Terms and Definitions

                    22.     A Power Sale Agreement ("PSA") was an agreement between an

    electricity distribution company and SECI, pursuant to which the electricity distribution

    company agreed to purchase solar power from SECI at certain negotiated rates.

                    23.     A Power Purchase Agreement ("PPA") was an agreement between SECI

    and an energy producer, pursuant to which the energy producer agreed to supply energy to SECI

    at certain negotiated rates.


                                                      7
Case 1:24-cr-00433-NGG-JRC             Document 1         Filed 10/24/24      Page 8 of 54 PageID #: 8




                   24.     The Indian rupee ("INR") was the domestic currency of India.

                   25.     A "lakh" was equivalent to I 00,000 under Indian numbering conventions.

                   26.     A "crore" was equivalent to IO million, or 100 lakhs, under Indian

   numbering conventions.

                   27.     A "security" was, among other things, any note, stock, bond, debenture,

   evidence of indebtedness, investment contract or participation in any profit-sharing agreement.

                   28.     A "syndicated loan" was a loan arranged by one or more banks on behalf

   of a group of lenders, referred to as a syndicate, who worked together to provide funds for a

   single borrower.

                   29.     A "facility agreement" was a loan agreement between a borrowing

   company and a lender or group of lenders that allowed the borrowing company to take out

   money from the loan periodically over an extended period of time.

                   30.     A "bond" was a fixed-income instrument and investment product where

   investors lent money to a government or company at a certain interest rate for an amount of time.

   The entity repaid investors interest in addition to repaying the original face value of the bond.

                   31.     Rule 144A of the Securities Act of 1933 provided a mechanism for the

   sale of securities, such as bonds ("Rule 144A Bonds"), that were privately placed to qualified

    institutional buyers ("QIBs") in the United States and elsewhere.

                   32.     An "offering circular" was a detailed document provided by an issuer of

    securities to potential investors containing important information about the issuer, its affiliates

    and the offered securities.




                                                      8
Case 1:24-cr-00433-NGG-JRC             Document 1          Filed 10/24/24       Page 9 of 54 PageID #: 9




                   33.      A "bookrunner" was a financial institution responsible for managing and

   coordinating the issuance and sale of securities. In the context of Rule 144A Bonds, a

   bookrunner, among other things, collaborated with the issuer to determine the appropriate price

   and structure of the securities being offered, helped the issuer market the offering to potential

   investors, including through roadshows, and participated in allocating the securities to investors.

   Multiple bookrunners on a transaction were referred to as ''joint bookrunners."

                   34.      A "subscription agreement" was a legal document used in the process of

   issuing securities. In the context of Rule 144A Bonds, a subscription agreement served as a

   contract between an issuer and a bookrunner or joint bookrunners, outlining the terms and

   conditions under which the bookrunners agree to market and distribute the issuer's securities.

                   35.      An "integrated annual report" was a comprehensive report that included

   financial and non-financial information about an organization to provide an overall view of the

   organization's performance, strategy, governance and future prospects. Investors and potential

   investors used annual reports to evaluate a company's financial performance and to make

    investment decisions.

   Ill.    The Foreign Corrupt Practices Act

                   36.      The FCPA was enacted by Congress for the purpose of, among other

   things, making it unlawful for certain classes of persons and entities to act corruptly in

    furtherance of an offer, promise, authorization or payment of money or anything of value,

    directly or indirectly, to a foreign official for the purpose of obtaining or retaining business for,

    or directing business to, any person.




                                                       9
Case 1:24-cr-00433-NGG-JRC             Document 1        Filed 10/24/24       Page 10 of 54 PageID #:
                                               10




   IV.    Overview of the Criminal Schemes

          A.      The Bribery and Obstruction Schemes

                  37.     Beginning in or about 2020, defendant RANJIT GUPTA and Co-

   Conspirator #2, while acting within the scope of their employment as officers, employees and

   agents of the U.S. Issuer, knowingly and willfully conspired and agreed with each other and

   others, including but not limited to the defendants GAUTAM S. ADAN I, SAGAR R. ADANI

   and VNEET S. JAAIN, to corruptly offer, authorize, promise to pay and to pay bribes to and for

   the benefit of government officials in India to cause Indian state electricity distribution

   companies to enter into contracts with SECI in order for the Indian Energy Company, the Indian

   Energy Company's subsidiaries and the U.S. Issuer to obtain and retain business. At various

   times in or about and between 2021 and 2022, other individuals, including but not limited to the

   defendants CYRIL CABANES, SAURABH AGARWAL, DEEPAK MALHOTRA, RU PESH

   AGARWAL and Co-Conspirator# I, knowingly and willfully joined the conspiracy.

                  38.     To accomplish the objectives of the then ongoing illegal bribery scheme,

   the defendants CYRIL CABANES, SAURABH AGARWAL, DEEPAK MALHOTRA,

   RU PESH AGARWAL and Co-Conspirator# I, together with others, also agreed knowingly and

   corruptly to conceal the scheme from the United States government, including by obstructing an

   investigation by a grand jury in the Eastern District of New York (the "Grand Jury

   Investigation"), an investigation by the Federal Bureau of Investigation (the "FBI Investigation")

   and an investigation by the SEC (the "SEC Investigation") (collectively, the "Government

   Investigations"). As part of that scheme, beginning in approximately 2022, CABANES,

   SAURABH AGARWAL, MALHOTRA, RUPESH AGARWAL and Co-Conspirator# I agreed
Case 1:24-cr-00433-NGG-JRC             Document 1        Filed 10/24/24     Page 11 of 54 PageID #:
                                               11




   with each other and others to destroy and suppress documents and communications and provide

   false information to the United States government in connection with the Government

   Investigations.

          B.         The Securities Fraud and Wire Fraud Schemes

                     39.   In or about and between 2020 and 2024, in order to fund its operations, the

   Indian Energy Company and certain of its subsidiaries engaged in a series of financial

   transactions, including: (i) obtaining more than $2 billion of United States-dollar denominated

   bank loans from international financial institutions and United States-based asset management

   companies; and (ii) offering more than $1 billion in securities underwritten by international

   financial institutions and marketed and sold to investors in the United States, among other places.

   In connection with these financial transactions, investors irrevocably committed themselves in

   the United States to invest millions of dollars in the securities of the Indian Energy Company.

                     40.    In connection with these transactions, the Indian Energy Company and its

   directors, management team and employees, including the defendants GAUTAM S. ADAN!,

   SAGAR R. ADANI and VNEET S. JAAIN, made or caused others to make false and misleading

   statements, and omitted material facts that rendered certain statements misleading, to investors,

   joint bookrunners and lenders regarding the Indian Energy Company's anti-bribery commitments

   and practices and the bribery scheme described herein.

                     41.    The Indian Energy Company and its directors, management team and

   employees, including the defendants GAUTAM S. ADAN!, SAGAR R. ADANI and VNEET S.

   JAAIN, relied on the United States financial system to perpetuate this fraudulent scheme by,

   among other things, seeking and securing investors and potential investors physically located in


                                                    11
Case 1:24-cr-00433-NGG-JRC             Document 1       Filed 10/24/24     Page 12 of 54 PageID #:
                                               12




   the United States and causing wires to be sent and received that passed through the United

   States, including through the Eastern District of New York.

   V.     The Conspiracies to Violate the FCPA and Obstruct Justice

          A.      The Corrupt Solar Proiect

                  42.    In or about and between December 2019 and July 2020, the U.S. Issuer

   and the Indian Energy Company's subsidiary won and were issued letters of award ("LOAs") for

   a manufacturing-linked solar tender offered by SECI (the "Manufacturing Linked Project"). As

   part of that award, the U.S. Issuer agreed to supply four gigawatts of solar power to SECI,

   and the Indian Energy Company's subsidiary agreed to supply eight gigawatts of solar power to

   SECI. SECI, in tum, was responsible for finding state electricity distribution companies that

   would purchase the 12 gigawatts of power that the Indian Energy Company's subsidiary and the

   U.S. Issuer had agreed to supply.

                  43.    The terms of the LOAs and amended LOAs obligated SECI to purchase

   solar power from the U.S. Issuer and the Indian Energy Company's subsidiaries at a fixed rate.

                  44.    At the time of its award, the size and scope of the Manufacturing Linked

   Project was among the largest global solar energy projects. The Manufacturing Linked Project

   more than doubled the capacity of renewable-power under the Indian Energy Company's and the

   U.S. Issuer's portfolios. After the award, the Indian Energy Company issued a media release

   titled, "[the Indian Energy Company] Wins the World's Largest Solar Award," which included a

   statement from the defendant GAUTAM S. ADANI that the Indian Energy Company was

   "honoured to be selected by SECI for this landmark solar award." Similarly, following the

   award, the U.S. Issuer published a media release announcing its four-gigawatt award as a part of


                                                   12
Case 1:24-cr-00433-NGG-JRC            Document 1         Filed 10/24/24     Page 13 of 54 PageID #:
                                              13




   "one of the largest solar projects ever awarded globally," which included a statement from the

   defendant RANJIT GUPTA that "[w]ith this award, [the U.S. Issuer] will have a large pipeline of

   over 4 GW for an extended period of time."

                   45.     The Manufacturing Linked Project was anticipated to generate

   considerable profits for its energy producers. For example, the U.S. Issuer anticipated that, over

   approximately 20 years, the Manufacturing Linked Project would generate more than $2 billion

   in profits after tax.

           B.       The Mechanics of the Bribery Scheme

                    i.     GAUTAM S. ADANI, SAGAR R. ADANI, VNEET S. JAAIN, RANJIT
                           GUPTA and Co-Conspirator #2 Promise to Pay Bribes to Government
                           Officials

                    46.    The high energy prices contemplated in the LOAs made it difficult for

   SECI to find Indian state buyers of energy under the Manufacturing Linked Project. After the

   award of the Manufacturing Linked Project, SECI unsuccessfully sought out Indian state and

   union governments to purchase the 12 gigawatts of solar power pursuant to PSAs. Without

   PSAs to sell the energy to a state buyer, SECI would not enter into corresponding PPAs to

   purchase power from the Indian Energy Company's subsidiaries or the U.S. Issuer.

                    47.    SECI's inability to find purchasers jeopardized the lucrative LOAs, and

   corresponding revenue, that the Indian Energy Company's subsidiary and the U.S. Issuer

   anticipated receiving from the Manufacturing Linked Project. As a result, in or about 2020, the

   defendants GAUTAM S. ADAN!, SAGAR R. ADAN!, VNEET S. JAAIN, RANJIT GUPTA

   and Co-Conspirator #2, among others, devised a scheme to offer, authorize, make and promise to

   make bribe payments to Indian government officials in exchange for the government officials


                                                    13
Case 1:24-cr-00433-NGG-JRC            Document 1        Filed 10/24/24       Page 14 of 54 PageID #:
                                              14




   causing state electricity distribution companies to enter into PSAs with SECI, which would allow

   the Indian Energy Company's subsidiaries and the U.S. Issuer to secure PPAs with SECI (the

   "Bribery Scheme"). GUPTA and Co-Conspirator #2 agreed that the U.S. Issuer would pay for a

   portion of the promised bribes.

                  48.     During the course of the Bribery Scheme, the co-conspirators undertook

   extensive efforts to corruptly persuade government officials to cause state electricity distribution

   companies to execute PSAs and frequently discussed those efforts amongst themselves,

   including through the use of an electronic messaging application. In addition, the defendant

   GAUTAM S. ADANI personally met with Foreign Official #1 in Andhra Pradesh to advance the

   execution of a PSA between SECI and Andhra Pradesh's state electricity distribution companies,

   including on or about August 7, 2021, on or about September 12, 2021 and on or about

   November 20, 2021.

                  49.      In furtherance of the Bribery Scheme, the co-conspirators, through

   GAUTAM S. ADANI, SAGAR R. ADANI, VNEET S. JAAIN and others, had offered and

   promised to Indian government officials approximately 2,029 crore rupees (approximately $265

   million) 2 in bribes in exchange for Indian government officials causing the state electricity

   distribution companies to execute PSAs under the Manufacturing Linked Project, which would

   benefit the Indian Energy Company's subsidiaries and the U.S. Issuer. Approximately 1,750

   crore rupees (approximately $228 million) of the corrupt payments was offered to Foreign

   Official #1 in exchange for Foreign Official #1 causing Andhra Pradesh's state electricity




   2      Unless otherwise noted, all U.S. Dollar conversions from INR are based on the
   approximate value of the INR to the U.S. Dollar in or about April 2022.
                                                  14
Case 1:24-cr-00433-NGG-JRC            Document 1         Filed 10/24/24    Page 15 of 54 PageID #:
                                              15




   distribution companies to agree to purchase seven gigawatts of solar power from SECT under the

   Manufacturing Linked Project.

                  50.     Following the promise of bribes to Indian government officials, in or

   about and between July 2021 and February 2022, electricity distribution companies for the states

   and regions of Odisha, Jammu and Kashmir, Tamil Nadu, Chhattisgarh and Andhra Pradesh

   entered into PSAs with SECI under the Manufacturing Linked Project. Andhra Pradesh's

   electricity distribution companies entered into a PSA with SECI on or about December l, 2021,

   pursuant to which the state agreed to purchase approximately seven gigawatts of solar power-

   by far the largest amount of any Indian state or region.

                  51.     With executed PSAs under the Manufacturing Linked Project, SECI could

   enter into corresponding PPAs to purchase solar power from the Indian Energy Company's

   subsidiaries and the U.S. Issuer. In or about and between October 2021 and February 2022, the

   U.S. Issuer and the Indian Energy Company, through subsidiaries, executed PPAs with SECI.

   Pursuant to the PPAs, the U.S. Issuer agreed to supply SECI with approximately 650 megawatts

   of solar power for the Indian states and region of Chhattisgarh, Tamil Nadu, Odisha and Jammu

   and Kashmir (collectively, the "650 MW PPAs") and approximately 2.3 gigawatts of solar power

   for the Indian state of Andhra Pradesh (the "2.3 GW PPAs"). Subsidiaries for the Indian Energy

   Company, likewise, executed their own PPAs with SECI under which the subsidiaries agreed to

   supply SECI with solar power for the Indian states and region of Chhattisgarh, Tamil Nadu,

   Odisha, Jammu and Kashmir and Andhra Pradesh. Following the execution of the Andhra

   Pradesh-linked PPAs by the Indian Energy Company's subsidiaries, the Indian Energy Company




                                                    15
Case 1:24-cr-00433-NGG-JRC            Document 1        Filed 10/24/24      Page 16 of 54 PageID #:
                                              16




   issued a press release quoting GAUTAM S. ADANI, who touted the signing of "the world's

   largest PPA with SECI."

                  52.    During and in furtherance of the Bribery Scheme, the defendant SAGAR

   R. ADANI used his cellular phone to track specific details of the bribes offered and promised to

   government officials (the "Bribe Notes"). The Bribe Notes identified: (i) the state or region for

   which government officials had been offered a bribe; (ii) the total amount of the offered bribe;

   and (iii) the approximate amount of solar power the state or region would agree to purchase in

   exchange for the bribe. In most instances, the Bribe Notes also identified the per megawatt rate

   for the total bribe amount offered, the abbreviated titles of the government officials who would

   receive the bribes, and/or the allocation of the total bribe amount among government officials

   within each state and region.

                  ii.    CYRIL CABANES, SAURABH AGARWAL and DEEPAK
                         MALHOTRA Learn of the Bribery Scheme

                  53.     Before the U.S. Issuer entered into the 2.3 GW PPAs to supply solar

   power for Andhra Pradesh, during a meeting in India, the defendants SAURABH AGARWAL

   and DEEP AK MALHOTRA learned from the defendant RANJIT GUPTA and Co-Conspirator

   #2 about payments to be made to secure the Andhra Pradesh-linked PPAs for the U.S. Issuer and

   subsidiaries of the Indian Energy Company. SAURABH AGARWAL and MALHOTRA shared

   that information with the defendant CYRIL CABANES.

                  54.     Approximately five days later, on or about December 16, 2021, the U.S.

   Issuer executed the 2.3 GW PPAs.




                                                   16
Case 1:24-cr-00433-NGG-JRC               Document 1    Filed 10/24/24      Page 17 of 54 PageID #:
                                                 17




                  111.    The Co-Conspirators' Corrupt Efforts to Pay the Indian Energy Company

                  55.     On or about April 25, 2022, the defendants GAUTAM S. ADANI,

   VNEET S. JAAIN, RANJIT GUPTA and Co-Conspirator #2 were scheduled to meet in New

   Delhi, Delhi, India to discuss the Bribery Scheme. In anticipation of the meeting, JAAIN used

   his cellular phone to photograph a document summarizing the amounts the U.S. Issuer owed the

   Indian Energy Company for its respective portion of the bribes promised by the Indian Energy

   Company on behalf of the U.S. Issuer. The summary reflected that the U.S. Issuer owed the

   Indian Energy Company: (i) 55 crore rupees (approximately $7 million) for the bribes that were

   promised to secure the 650 MW PPAs; and (ii) 583 crore rupees (approximately $76 million) for

   the bribes that were promised to secure the 2.3 GW PPAs.

                  56.     However, also on or about April 25, 2022, the U.S. Issuer's Board of

   Directors asked the defendant RANJIT GUPTA and Co-Conspirator #2 to resign from their

   positions, which they did. The next day, on or about April 26, 2022, the U.S. Issuer publicly

   announced RANJIT GUPTA' s and Co-Conspirator #2' s resignations from their executive

   positions.

                  57.     On or about April 27, 2022, the defendant GAUTAM S. ADAN!

   contacted the defendant SAURABH AGARWAL to request a meeting with the U.S. Issuer's

   new leadership. Following his communications with GAUTAM S. ADANI, the defendants

   CYRIL CABANES and SAURABH AGARWAL directed the defendant RUPESH AGARWAL

   and Co-Conspirator #1 to attend a meeting with GAUTAM S. ADANI in Ahmedabad, Gujarat,

   India on behalf of the U.S. Issuer.




                                                  17
Case 1:24-cr-00433-NGG-JRC            Document 1         Filed 10/24/24     Page 18 of 54 PageID #:
                                              18




                   58.   On or about April 29, 2022, the defendant RUPESH AGARWAL and Co-

   Conspirator #1 met with the defendants GAUTAM S. ADAN!, SAGAR R. ADAN! and VNEET

   S. JAAIN at the Conglomerate's corporate office in Ahmedabad, Gujarat, India. During the

   meeting, GAUTAM S. ADAN! detailed aspects of the Bribery Scheme, including, among others:

   (i) the corrupt agreement with the defendant RANJIT GUPTA and Co-Conspirator #2 to secure

   relevant contracts under the Manufacturing Linked Project through bribe payments to Indian

   government officials; (ii) that the Canadian Investor had approved the corrupt agreement; (iii)

   that, for its share of the bribe payments, the U.S. Issuer owed GAUTAM S. ADAN! 25 lakh

   rupees per megawatt of power for securing the 2.3 GW PP As and 55 crore rupees for securing

   the 650 MW PPAs; and (iv) steps GAUTAM S. ADAN! personally took to offer bribes to Indian

   government officials. In addition, GAUTAM S. ADANI presented multiple options by which

   the U.S. Issuer could conceal satisfaction of its portion of the bribe payments, including by

   transferring the 2.3 GW PPAs from the U.S. Issuer to the Indian Energy Company or its

   subsidiaries.

                   59.    Following the April 29, 2022 meeting, the defendants CYRIL CABANES,

   SAURABH AGARWAL, DEEPAK MALHOTRA, RU PESH AGARWAL and Co-

   Conspirator #1 planned how the U.S. Issuer would pay for the portion of bribe payments that the

   Indian Energy Company had promised to make on the U.S. Issuer's behalf. As discussed further

   below, to further the Bribery Scheme, CABANES, SAURABH AGARWAL, MALHOTRA,

   RUPESH AGARWAL and Co-Conspirator # I also agreed to hide their own involvement in the

   Bribery Scheme.




                                                    18
Case 1:24-cr-00433-NGG-JRC           Document 1        Filed 10/24/24     Page 19 of 54 PageID #:
                                             19




                   60.   To help the defendants CYRIL CABANES, SAURABH AGARWAL,

   DEEPAK MALHOTRA, RUPESH AGARWAL and Co-Conspirator #I determine which

   corrupt payment option was best, RUPESH AGARWAL prepared multiple analyses using

   PowerPoint and Excel. One of the PowerPoints prepared by RUPESH AGARWAL summarized

   the options, described as "Commercial proposal[s]," that the defendant GAUTAM S. ADANI

   had suggested, including the U.S. Issuer: (i) directly paying the Indian Energy Company the

   amounts owed to GAUTAM S. ADANI, described as a "Development Fee"; (ii) transferring all

   of its Manufacturing Linked Project PP As to the Indian Energy Company; (iii) transferring only

   the 2.3 GW PPAs to the Indian Energy Company; and (iv) entering into a joint venture with the

   Indian Energy Company whereby the Indian Energy Company would build and operate the U.S.

   Issuer's projects. That PowerPoint also contemplated transferring the 2.3 GW PPAs to the

   Indian Energy Company and paying the Indian Energy Company a $7 .3 million "fee" in

   connection with the 650 MW PPAs, which PPAs the U.S. Issuer would continue to retain and

   develop under the Manufacturing Linked Project.

                   61.   The corrupt payment analyses prepared by the defendant RUPESH

   AGARWAL described a coordinated effort by the Indian Energy Company and the U.S. Issuer to

   facilitate the transfer of the 2.3 GW PPAs to the Indian Energy Company and stated that, where

   regulatory approval was required from SECI, the defendant GAUTAM S. ADANI would obtain

   the approval.

                   62.   During the course of the Bribery Scheme, the defendants CYRIL

   CABANES, SAURABH AGARWAL, DEEPAK MALHOTRA and RUPESH AGARWAL, and

   Co-Conspirator # 1, regularly communicated about and in furtherance of the corrupt scheme,


                                                  19
Case 1:24-cr-00433-NGG-JRC           Document 1        Filed 10/24/24      Page 20 of 54 PageID #:
                                             20




   including via electronic messaging, some of which communications occurred while CABANES,

   SAURABH AGARWAL and Co-Conspirator #1 were in the United States.

                 63.     When communicating about the Bribery Scheme, the defendants CYRIL

   CABANES, SAURABH AGARWAL, DEEPAK MALHOTRA, RUPESH AGARWAL and Co-

   Conspirator #1 often referred to the defendants GAUTAM S. ADANI and VNEET S. JAAIN by

   code names. Specifically, among other things, CABANES, SAURABH AGARWAL,

   MALHOTRA, RUPESH AGARWAL and Co-Conspirator# I referred to GAUTAM S. ADANI

   as "SAG," "Mr[.] A," "Numero uno" and "the big man," and referred to JAAIN as "V," "snake"

   and "Numero uno minus one."

                 64.     On or about June 14, 2022, the defendants GAUTAM S. ADAN!, SAGAR

   R. ADANI and VNEET S. JAAIN met with the defendant RUPESH AGARWAL and Co-

   Conspirator #1 at the Conglomerate's corporate office in Ahmedabad, Gujarat, India. Prior to

   the meeting, Co-Conspirator #1 discussed with the defendants CYRIL CABANES, SAURABH

   AGARWAL, DEEPAK MALHOTRA and RUPESH AGARWAL a plan to return the 2.3 GW

   PP As to SECI as a way to transfer value to the Indian Energy Company to satisfy a portion of the

   U.S. Issuer's bribes. As a result, at the meeting, Co-Conspirator #1 told GAUTAM S. ADAN!

   that the U.S. Issuer would return the 2.3 GW PPAs to SECI, with the understanding that the

   Indian Energy Company or its subsidiary would acquire the project for itself, thereby satisfying a

   portion of the U.S. Issuer's bribes. Co-Conspirator #1 also agreed that the U.S. Issuer would pay

   the Indian Energy Company its portion-approximately $7 million----of the bribe payments

   promised by the Indian Energy Company to Indian government officials to secure the 650 MW




                                                  20
Case 1:24-cr-00433-NGG-JRC           Document 1         Filed 10/24/24    Page 21 of 54 PageID #:
                                             21




   PPAs, which corrupt payment would facilitate the U.S. Issuer's retention of the remaining

   portions of the Manufacturing Linked Project.

                 65.     Thereafter, the defendants CYRIL CABANES, SAURABH AGARWAL,

   DEEPAK MALHOTRA and RUPESH AGARWAL, and Co-Conspirator# I, worked to

   implement the transfer of the 2.3 GW PP As to the Indian Energy Company and to identify a

   means to transfer millions of dollars to the Indian Energy Company while the U.S. Issuer

   retained the 650 MW PPAs.

                 IV.     The Corrupt Transfer of the 2.3 GW PPAs to the Indian Energy
                         Company's Subsidiary

                 66.     The defendants CYRIL CABANES, SAURABH AGARWAL, DEEPAK

   MALHOTRA and RUPESH AGARWAL, and Co-Conspirator #1, needed approval from the

   U.S. Issuer's Boards of Directors to transfer the valuable 2.3 GW PPAs to the Indian Energy

   Company and/or its subsidiary. To do so, they contrived pretextual reasons to return the 2.3 GW

   PPAs to SECI, which they presented to the U.S. Issuer's Boards of Directors. Specifically,

   CABANES, SAURABH AGARWAL, MALHOTRA, RUPESH AGARWAL and Co-

   Conspirator # I claimed that the need to return the 2.3 GW PPAs to SECI was based on then-

   ongoing litigation regarding the project and deteriorating economics, which reasons were meant

   to obfuscate the true reason the U.S. Issuer was returning the projects to SECI. CABANES,

   SAURABH AGARWAL, MALHOTRA, RUPESH AGARWAL and Co-Conspirator# I also

   concealed from the Boards of Directors and others to whom they reported the corrupt monies

   they had agreed to pay to the Indian Energy Company for the bribes promised to secure the 650

   MW PPAs. On or about November 22, 2022, the U.S. Issuer's Board of Directors authorized



                                                   21
Case 1:24-cr-00433-NGG-JRC           Document 1         Filed 10/24/24        Page 22 of 54 PageID #:
                                             22




   sending a letter to SECI to begin discussions about the U.S. Issuer withdrawing from the 2.3 GW

   PPAs.

                  67.    The defendants GAUTAM S. ADANI, SAGAR R. ADANI and VNEET

   S. JAAIN, who were secretly directing the U.S. Issuer's return of the 2.3 GW PPAs to SECI,

   kept each other apprised of the progress on the project's return. The same day that the U.S.

   Issuer's Board of Directors authorized the letter to SECI, on or about November 22, 2022,

   SAGAR R. ADANI sent an electronic message to GAUTAM S. ADANI stating that "24th

   (Thursday) there is [a] board meeting in [the U.S. Issuer] where they are expected to approve the

   final letter to be sent to SECI. We will keep close track and chase it up properly." GAUTAM S.

   ADANI responded to the message, "Ok."

                  68.    On or about December 7, 2022, the U.S. Issuer sent a letter to SECI

   requesting a meeting with SECI to discuss the 2.3 GW PPAs.

                  69.    The following day, on or about December 8, 2022, SAGAR R. ADANI

   sent an electronic message to GAUTAM S. ADANI stating that the U.S. Issuer "has finally

   submitted letter to SECI today .... Will follow for next steps closely."

                  70.    The defendants SAGAR R. ADAN! and VNEET S. JAAIN and other

   Indian Energy Company personnel also secretly influenced the SECI process for reallocation of

   the 2.3 GW PPAs to the Indian Energy Company's subsidiary, including by directing the U.S.

   Issuer's submissions to SECI and by obtaining and revising internal SECI documents.

                  71.    On or about March I 8, 2024, SECI sent letters to the U.S. Issuer

   terminating the 2.3 GW PPAs, authorizing reallocation of the 2.3 GW PPAs to the Indian Energy




                                                   22
Case 1:24-cr-00433-NGG-JRC            Document 1           Filed 10/24/24   Page 23 of 54 PageID #:
                                              23




   Company's subsidiary and affirming the U.S. Issuer's obligation to continue developing the

   650 MW PPAs.

                  72.    On or about March 28, 2024, as of which time the defendants RANilT

   GUPTA, CYRIL CABANES, SAURABH AGARWAL, DEEPAK MALHOTRA, and RUPESH

   AGARWAL and Co-Conspirator #1 and Co-Conspirator #2 were no longer employed by the

   U.S. Issuer and companies associated with the Canadian Investor, the U.S. Issuer publicly

   announced, among other things, that it was withdrawing from the 650 MW PPAs.

           C.     The Obstruction Scheme

                  73.    On or about March 17, 2022, as part of the SEC Investigation, the SEC

   sent a "general inquiry" request to the U.S. Issuer, which included requests for information about

   all contracts the U.S. Issuer had bid on and/or won since 2018, FCPA complaints and

   investigations and the solicitation of anything of value by or on behalf of foreign government

   officials.

                  74.     On or about March 25, 2022, Co-Conspirator #1 sent an electronic

   message to the defendants CYRIL CABANES, SAURABH AGARWAL and DEEPAK

   MALHOTRA alerting them that the U.S. Issuer had received an "SEC enquiry ... about what

   we have bid for/ won/ agents/ any compliance enquiry and any FCPA enquiry." Several days

   later, on or about March 29, 2022, the defendant RANJIT GUPTA also sent an electronic

   message to MALHOTRA attaching the SEC' s inquiry to the U.S. Issuer, which letter

   MALHOTRA then sent to CABANES and SAURABH AGARWAL. SAURABH AGARWAL

   responded to the message, in part, "We need the management to confirm the FCPA related

   statements that will be released as a response."


                                                      23
Case 1:24-cr-00433-NGG-JRC            Document 1        Filed 10/24/24      Page 24 of 54 PageID #:
                                              24




                  75.    To accomplish the objectives of the ongoing Bribery Scheme, beginning

   in or about 2022, the defendants CYRIL CABANES, SAURABH AGARWAL, DEEPAK

   MALHOTRA and RUPESH AGARWAL, and Co-Conspirator#l, agreed to suppress

   documents, conceal information and provide false information to the United States government

   for the purpose of obstructing, influencing and interfering with the Government Investigations

   (the "Obstruction Scheme").

                  76.      To create the false appearance of transparency and good governance, in

   or about August 2022, the defendants CYRIL CABANES, SAURABH AGARWAL, DEEP AK

   MALHOTRA and RUPESH AGARWAL, and Co-Conspirator #1, caused the U.S. Issuer's

   Board of Directors to initiate an internal investigation run by a law firm headquartered in the

   United States and supervised by a sub-committee of the Board of Directors. Part of the

   Obstruction Scheme was to withhold key information about the Bribery Scheme, including the

   plan to pay millions of dollars to the Indian Energy Company in connection with the 650 MW

   PPAs that were to be retained by the U.S. Issuer, from the internal investigation and the

   Government Investigations. In addition, CABANES, SAURABH AGARWAL, MALHOTRA,

   RUPESH AGARWAL and Co-Conspirator #1 made and agreed to make certain selective

   disclosures in connection with the internal investigation and the Government Investigations-

   namely, revealing the defendants GAUTAM S. ADANI's, SAGAR R. ADANI's and VNEET S.

   JAAIN's requests for bribe money but concealing their own participation in the Bribery Scheme.

   This strategy was designed to create the appearance that the co-conspirators were reporting

   misconduct rather than perpetrating misconduct, which, in turn, aided the co-conspirators'




                                                   24
Case 1:24-cr-00433-NGG-JRC           Document 1        Filed 10/24/24      Page 25 of 54 PageID #:
                                             25




   continued efforts to further the ongoing Bribery Scheme and to conceal the true nature of the

   Bribery Scheme from the Board of Directors and the Government Investigations.

                  77.     In or about and between 2022 and the present, the defendants CYRIL

   CABANES, SAURABH AGARWAL, DEEPAK MALHOTRA and RUPESH AGARWAL, and

   Co-Conspirator #I, took numerous additional steps to conceal their participation in the Bribery

   Scheme and interfere with the Government Investigations. Specifically, CABANES,

   SAURABH AGARWAL, MALHOTRA, RUPESH AGARWAL and Co-Conspirator# I

   destroyed and otherwise concealed evidence, including a PowerPoint analysis and electronic

   communications, thereby impairing the availability of records, documents, objects and other

   things for use in the Government Investigations. In furtherance of the Obstruction Scheme:

                         (a)     In or about June 2022, SAURABH AGARWAL and CABANES

   agreed to delete electronic messages they had exchanged about what they would report to the

   Canadian Investor and the Canadian Investor's Subsidiary about the Bribery Scheme.

                         (b)     In or about early August 2022, Co-Conspirator # 1 discussed with

   MALHOTRA and RUPESH AGARWAL the deletion of incriminating electronic materials,

   including emails, electronic messages and a PowerPoint analysis detailing options for how the

   U.S. Issuer could compensate the Indian Energy Company for its portion of the bribes.

                         (c)     On or about September 30, 2022, CABANES, SAURABH

   AGARWAL, MALHOTRA, RUPESH AGARWAL and Co-Conspirator#l agreed to conceal

   their agreement to pay the defendant GAUTAM S. ADANI in connection with Bribery Scheme.

                  78.    In or about and between March 2023 and July 2023, CABANES,

   SAURABH AGAR WAL, MALHOTRA, RUPESH AGARWAL and Co-Conspirator# I met


                                                  25
Case 1:24-cr-00433-NGG-JRC            Document 1        Filed 10/24/24      Page 26 of 54 PageID #:
                                              26




   with representatives from the FBI, Department of Justice ("DOJ"), and SEC in Brooklyn, New

   York and, in furtherance of the Bribery Scheme, falsely denied their participation in the Bribery

   Scheme.

   VI.    The Fraud Scheme

                  79.     In or about and between 2020 and 2024, while engaged in the Bribery

   Scheme, the defendants GAUTAM S. ADANI, SAGAR R. ADANI and VNEET S. JAAIN were

   simultaneously engaged in a scheme to obtain United States dollar-denominated financing for the

   Indian Energy Company and its subsidiaries, including from investors located in the United

   States, on the basis of false and misleading statements, as well as material omissions that

   rendered certain statements misleading, regarding the Indian Energy Company's involvement in

   the Bribery Scheme and its anti-bribery commitments and practices (the "Fraud Scheme").

                  80.     To obtain such financing, the defendants GAUTAM S. ADANI, SAGAR

   R. ADANI and VNEET S. JAAIN approved financial transactions entered into by the Indian

   Energy Company and its subsidiaries, including: (i) United States dollar-denominated syndicate

   loans from lender groups comprised of international financial institutions and United States-

   based investors; and (ii) Rule 144A bond offerings underwritten by international financial

   institutions, which were marketed and sold to investors in the United States, among other places.

   Necessary documents for each of these financings contained false and misleading statements

   about whether the Indian Energy Company engaged in bribery and the Indian Energy Company's

   overall commitment to anti-corruption principles and good governance.

                  81.     The false statements, misrepresentations and material omissions that the

   defendants GAUTAM S. ADANI, SAGAR R. ADANI and VNEET S. JAAIN made and caused


                                                   26
Case 1:24-cr-00433-NGG-JRC             Document 1        Filed 10/24/24       Page 27 of 54 PageID #:
                                               27




   others to make induced investors to purchase bonds and financial institutions to lend money

   pursuant to terms and at prices that did not account for the true risk associated with the

   transactions, among other potential consequences of providing capital to the Indian Energy

   Company or its subsidiaries, when the Indian Energy Company and its principals were engaged

   in the Bribery Scheme.

                  82.      The defendants GAUTAM S. ADANI, SAGAR R. ADANI and VNEET

   S. JAAIN had direct control over the Indian Energy Company's ability to raise capital. On or

   about July 10, 2020, the Board of Directors of the Indian Energy Company passed a resolution

   reconstituting its "Management Committee" and vesting certain powers in the Management

   Committee (the "Indian Energy Company Board Resolution"). The four-member Management

   Committee included GAUTAM S. ADAN!, SAGAR R. ADANI and JAAIN. Powers vested in

   the Management Committee included, among others, the powers to borrow funds from banks

   and/or other financial institutions, make investments in subsidiary or joint venture companies

   and issue securities.

                  83.      In addition to authorizing fraudulent financial transactions, the defendants

   GAUTAM S. ADAN! and SAGAR R. ADANI took other actions in furtherance of the Fraud

   Scheme. For example, in or about and between 2020 and 2023, GAUTAM S. ADANI and

   SAGAR R. ADAN! traveled to the United States to meet with prospective financial partners and

   investors for the purpose of maintaining and improving the Conglomerate's and the Indian

   Energy Company's access to United States-based capital.

                   84.     Additionally, in connection with the publication of news articles regarding

   the United States government's investigation into the Bribery Scheme, the defendants GAUTAM


                                                    27
Case 1:24-cr-00433-NGG-JRC            Document 1         Filed 10/24/24       Page 28 of 54 PageID #:
                                              28




   S. ADANI and SAGAR R. ADANI made or caused others to make false and misleading

   statements publicly and privately to financial institutions about the Bribery Scheme and the

   Indian Energy Company's knowledge and awareness of the United States government's

   investigation into the Bribery Scheme.

          A.      The 2021 Fraudulent Financial Transactions

                  i.      The 2021 Syndicate Loan

                  85.     On or about March 5, 2021, four wholly-owned subsidiaries of the Indian

   Energy Company ("the 2021 Project Companies"), which were established to develop certain of

   the Indian Energy Company's renewable-energy projects, raised a total of $1.35 billion in a

   United States-dollar denominated senior secured debt facility (the "2021 Syndicate Loan") from

   the international branches of a group of global financial institutions (the "2021 Lenders").

                  86.     In connection with the 2021 Syndicate Loan, on or about March 5, 2021,

   the 2021 Project Companies entered into a facility agreement with the 2021 Lenders (the "2021

   Facility Agreement"). The 2021 Facility Agreement contained false and misleading statements

   about the Indian Energy Company's anti-bribery practices and policies. For example, the 2021

   Facility Agreement included a false and misleading representation that neither the 2021 Project

   Companies, nor any affiliates, which included the Indian Energy Company, or their

   representatives had taken or would take any action in furtherance of an offer, payment, promise

   to pay, or authorization or approval of the payment or giving of money, property, gifts or

   anything else of value, directly or indirectly, to any government official to influence official

   action or secure an improper advantage.




                                                    28
Case 1:24-cr-00433-NGG-JRC           Document 1         Filed 10/24/24      Page 29 of 54 PageID #:
                                             29




                  87.    The defendants GAUTAM S. ADANI, SAGAR R. ADANI and VNEET

   S. JAAIN authorized the 2021 Syndicate Loan while engaged in the Bribery Scheme, which, as

   described above, included promises to pay government officials to influence official action

   and/or secure an improper advantage. On or about March l, 2021, just prior to finalizing the

   2021 Syndicate Loan, Individual #1, the company secretary of the Indian Energy Company,

   certified a copy of the operative July 2020 Indian Energy Company Board Resolution,

   demonstrating that GAUTAM S. ADANI, SAGAR R. ADANI and JAAIN maintained the

   authority to approve the 2021 Syndicate Loan, which resolution was provided to the 2021

   Lenders in connection with the loan.

                  88.    On or about December 6, 2021, one of the 2021 Lenders ("Financial

   Institution # 1") sold from its Hong Kong branch approximately $70 million of its $325 million

   commitment of the 2021 Syndicate Loan through two asset management companies, one of

   which was headquartered in New York (the "Asset Managers").

                  89.    Prior to the sale, the Asset Managers undertook a due diligence process,

   which included a review of the 2021 Facility Agreement containing the false and misleading

   statements about the Indian Energy Company's anti-bribery practices and policies described

   above.

                  90.    Access to the U.S. dollar-denominated loan funds required collecting,

   sending and receiving wires within and through the United States, including through the Eastern

   District of New York. To access the 2021 Syndicate Loan funds, the 2021 Project Companies

   issued utilization requests to a financial institution designated as the "agent" bank among the

   2021 Lenders ("Financial Institution #2"). Financial Institution #2 collected loan funds from the


                                                   29
Case 1:24-cr-00433-NGG-JRC           Document 1         Filed 10/24/24     Page 30 of 54 PageID #:
                                             30




   2021 Lenders in a bank account at the New York branch of Financial Institution #2 and

   subsequently wired the funds to another financial institution in the United States for onward

   remittance to the 2021 Project Companies.

                  11.    The 2021 144A Bond

                  91.    On or about September 8, 2021, the Indian Energy Company issued $750

   million in senior secured notes due 2024 (the "2021 144A Bond"). The 2021 144A Bond was

   marketed and offered to QIBs in the United States pursuant to Rule 144A of the Securities Act of

   1933. In connection with the 2021 144A Bond, potential investors electronically received an

   offering circular ("the 2021 Bond Circular"), a document that included information about, among

   other things, the Conglomerate, the Indian Energy Company, the 2021 144A Bond, identified

   risk factors, the 2021 Syndicate Loan, the Indian Energy Company's Board of Directors and

   senior management, the Indian Energy Company's principal shareholders and a description of

   the Indian Energy Company's approximate 20 gigawatt portfolio, eight gigawatts of which was

   the corrupt Manufacturing Linked Project.

                  92.    The 2021 144A Bond raised money for the Indian Energy Company's

   ongoing projects, including the corrupt Manufacturing Linked Project. In the 2021 Bond

   Circular and in marketing materials, the Indian Energy Company identified to investors the use

   of proceeds for the 2021 144A Bond as capital expenditure requirements for the Indian Energy

   Company's under-construction projects at various stages of development, including the corrupt

   Manufacturing Linked Project.

                  93.     The defendants SAGAR R. ADANI and VNEET S. JAAIN reviewed and

   approved the 2021 Bond Circular, which contained false and misleading assurances about the


                                                   30
Case 1:24-cr-00433-NGG-JRC            Document 1         Filed 10/24/24      Page 31 of 54 PageID #:
                                              31




   Indian Energy Company's anti-bribery practices and policies and its commitment to such

   principles, purportedly backed by robust internal compliance measures. For example, the

   2021 Bond Circular touted the Indian Energy Company's risk management committee's

   oversight of anti-corruption and anti-bribery related matters. SAGAR R. ADANI and JAAIN,

   who at the time of the 2021 144A Bond offering were engaged in the Bribery Scheme, were

   members of the Indian Energy Company's risk management committee and were senior directors

   of the Indian Energy Company.

                  94.    To market and sell the 2021 144A Bond to investors, the Indian Energy

   Company engaged a group of global financial institutions as joint bookrunners (the "2021 Joint

   Bookrunners"). The Indian Energy Company and the 2021 Joint Bookrunners entered into a

   subscription agreement dated September l, 2021 (the "2021 Subscription Agreement"). That

   2021 Subscription Agreement included false and misleading representations regarding the Indian

   Energy Company's anti-bribery practices, including the false statement that the Indian Energy

   Company and its representatives had not taken and would not take any action in furtherance of

   an offer, payment, promise to pay, or authorization or approval of the payment or giving of

   money, property, gifts or anything else of value, directly or indirectly, to any government official

   to influence official action or secure an improper advantage. In the leadup to the bond pricing,

   the defendant SAGAR R. ADANI was included on multiple emails containing the draft and

   execution versions of the 2021 Subscription Agreement, as well as an email confirming the

   Indian Energy Company's signoff on the execution version of the 2021 Subscription Agreement.




                                                    31
Case 1:24-cr-00433-NGG-JRC           Document 1         Filed 10/24/24      Page 32 of 54 PageID #:
                                             32




                  95.    While actively engaged in the Bribery Scheme, the defendants GAUTAM

   S. ADANI, SAGAR R. ADAN! and VNEET S. JAAIN authorized the Indian Energy Company

   to issue the 2021 144A Bond and make use of the proceeds.

                  96.    On or about August 26, 2021, the defendants SAGAR R. ADAN! and

   VNEET S. JAAIN, as members of the Management Committee of the Indian Energy Company,

   passed a resolution authorizing the Indian Energy Company to issue securities in the amount of

   $750 million. This resolution also set forth certain authorized signatories, including SAGAR R.

   ADAN! and JAAIN, who were permitted to, among other things, execute all relevant transaction

   documents in furtherance of the 2021 I 44A Bond offering on behalf of the Indian Energy

   Company.

                  97.    Following the 2021 144A Bond issuance, in or about November 2021, the

   defendants GAUTAM S. ADANI, SAGAR R. ADAN I and VNEET S. JAAIN each approved a

   formal Indian Energy Company "Note for Approval" authorizing the Indian Energy Company to

   make use of the 2021 144A Bond proceeds and pass any necessary Board of Director resolutions.

                  98.    The defendant SAGAR R. ADAN! also played a key role in managing the

   2021 144A Bond offering process and concealed the ongoing Bribery Scheme from the 2021

   Joint Bookrunners and investors. For example, on or about July 30, 2021, the 2021 Joint

   Bookrunners conducted a due diligence session with the Indian Energy Company management to

   assist in the preparation of the 2021 Bond Circular and ensure that all material disclosures were

   made. The 2021 Joint Bookrunners emailed a due diligence questionnaire in advance of the

   session to SAGAR R. ADANI, among others. The questionnaire included queries about FCPA

   compliance and whether the Indian Energy Company and its directors or officers, among others,


                                                   32
Case 1:24-cr-00433-NGG-JRC           Document 1         Filed 10/24/24      Page 33 of 54 PageID #:
                                             33




   had made any unlawful payments to government officials. Following the session, the 2021 Joint

   Bookrunners concluded that the 2021 144A Bond posed no anti-bribery-related issues and

   proceeded with the 2021 144A Bond issuance. Additional due diligence sessions were

   conducted on or about August 27, 2021 and on or about September 1, 2021.

                  99.    On or about September 8, 2021, in connection with final pre-launch due

   diligence efforts, counsel for the 2021 Joint Bookrunners emailed the defendant SAGAR R.

   ADANI, among others, seeking confirmation that none of the responses to the questions

   discussed during the due diligence sessions had changed and that the 2021 Bond Circular

   contained all information regarding the Indian Energy Company that was material. On the same

   day, Individual # 1 responded affirmatively, copying the defendant SAGAR R. ADAN!, and

   further noting that there was "nothing else that the [2021 Joint Bookrunners], legal counsels or

   investors in the Notes should know that is not disclosed in the [2021 Bond Circular]."

                  100.   The defendant SAGAR R. ADANI was also involved in the marketing of

   the bond to investors. He received draft roadshow presentations, represented the Indian Energy

   Company during telephonic roadshow meetings with investors and otherwise participated in the

   Indian Energy Company's engagement with potential investors in the United States and

   elsewhere.

                  101.   Numerous wires, such as electronic messages and financial wires, passed

   within and through the United States, including through the Eastern District of New York, in

   connection with the 2021 144A Bond. For example, salespeople employed by the 2021 Joint

   Bookrunners and located in New York City sent and received electronic messages in connection




                                                   33
Case 1:24-cr-00433-NGG-JRC             Document 1         Filed 10/24/24     Page 34 of 54 PageID #:
                                               34




   with marketing the bond. Ultimately, approximately one quarter of the $750 million 2021 144A

   Bond was allocated to United States-based investors.

          B.      GAUTAM S. ADANI and SAGAR R. ADANI Learn of the United States
                  Government's Investigation

                   I 02.   In or about March 2023, FBI special agents took steps in furtherance of

   the FBI Investigation and the Grand Jury Investigation that revealed the existence of those

   investigations, as well as certain crimes and individuals under investigation, to the defendant

   SAGAR R. ADANT, which information was shared with the defendant GAUTAM S. ADANI.

   Thereafter, in furtherance of the Fraud Scheme, SAGAR R. ADANI and GAUTAM S. ADANI

   made or caused others to make false and misleading statements regarding the Bribery Scheme to

   investors, potential investors and financial institutions.

                   I 03.   Specifically, on or about March 17, 2023, FBI special agents approached

   the defendant SAGAR R. ADAN I in the United States and, pursuant to a judicially authorized

   search warrant, took custody of electronic devices in his possession. At the same time, FBI

   special agents provided SAGAR R. ADAN I with a copy of the search warrant and served him

   with a grand jury subpoena. The search warrant identified offenses, individuals and entities

   under investigation by the United States government, specifically: violations of the FCPA,

   securities fraud, wire fraud and related conspiracies involving SAGAR R. ADANI and the

   defendants GAUTAM S. ADANI and VNEET S. JAAIN, as well as the Indian Energy

   Company. The search warrant further described certain evidence subject to seizure, including

   evidence "related to the payment of or an offer to pay, bribes, kickbacks or provide or offer to

   provide any other thing of value to Indian government officials in order to obtain or retain

   business advantages."
                                                     34
Case 1:24-cr-00433-NGG-JRC             Document 1        Filed 10/24/24       Page 35 of 54 PageID #:
                                               35




                  104.     On or about March 18, 2023, the defendant GAUTAM S. ADANI emailed

   himself photographs of each page of the search warrant executed and grand jury subpoena served

   on the defendant SAGAR R. ADANI.

                  I 05.    Thereafter, as discussed further below, despite knowing certain of the

   subject offenses and individuals under investigation by the United States government, the

   defendants GAUTAM S. ADANI and SAGAR R. ADANI not only concealed the Bribery

   Scheme from financial institutions and investors in the United States and elsewhere but also

   caused others to make false and misleading statements regarding their awareness and knowledge

   of the United States government's investigation and its subjects.

          C.      The 2023-2024 Fraudulent Transactions

                  1.       The 2023 Syndicate Loan

                  106.     On or about December 5, 2023, five project companies, wholly-owned by

   the Indian Energy Company through a subsidiary ("the 2023 Project Companies"), which were

   established to develop certain of the Indian Energy Company's renewable-energy projects, raised

   a total of$ I .36 billion in a United States dollar-denominated senior secured debt facility (the

   "2023 Syndicate Loan") from international branches of a group of global financial institutions

   (the "2023 Lenders"). The 2023 Project Companies were developing some of the solar projects

   for the corrupt Manufacturing Linked Project described above.

                   I 07.   In connection with the 2023 Syndicate Loan, the 2023 Project Companies

   entered into a facility agreement with the 2023 Lenders (the "2023 Facility Agreement"). The

   2023 Facility Agreement contained false assurances about the Indian Energy Company's anti-

   bribery practices and policies, similar to those in the 2021 Facility Agreement described above.


                                                    35
Case 1:24-cr-00433-NGG-JRC            Document 1         Filed 10/24/24      Page 36 of 54 PageID #:
                                              36




                  108.    In or about and between November and December 2023, the defendants

   GAUTAM S. ADAN!, SAGAR R. ADAN I and VNEET S. JAAIN authorized the 2023

   Syndicate Loan. Specifically, GAUTAM S. ADANI, SAGAR R. ADANI and JAAIN each

   approved a formal "Note for approval" authorizing the terms of the 2023 Syndicate Loan, which

   stated that a breach of anti-corruption covenants would constitute a "Major Event of Default."

                  I 09.   To access the 2023 Syndicate Loan funds, the 2023 Project Companies

   issued utilization requests to Financial Institution #2, which served as the "agent" bank.

   Financial Institution #2 collected loan funds from the 2023 Lenders in a bank account at the New

   York branch of Financial Institution #2 and subsequently wired the funds to another financial

   institution for onward remittance to the 2023 Project Companies.

                  ii.     The 2024 144A Bond

                  110.    On or about March 12, 2024, three special purpose vehicles (the "2024

   Project Companies")-each a wholly-owned subsidiary of a joint venture equally owned by the

   Indian Energy Company and another energy company-issued $409 million in senior secured

   notes due 2042 (the "2024 144A Bond"). The Indian Energy Company had management control

   over the joint venture and the 2024 Project Companies. The 2024 144A Bond was marketed and

   offered to QIBs in the United States pursuant to Rule 144A of the Securities Act of 1933. In

   connection with the 2024 144A Bond, potential investors electronically received an offering

   circular ("the 2024 Bond Circular"), a document that included information about, among other

   things, the Conglomerate, the Indian Energy Company, the 2024 Project Companies, the 2024

   144A Bond, identified risk factors, the 2024 Project Companies' principal shareholders, the




                                                    36
Case 1:24-cr-00433-NGG-JRC           Document 1        Filed 10/24/24     Page 37 of 54 PageID #:
                                             37




   Manufacturing Linked Project and a description of the Indian Energy Company's approximate

   21 gigawatt portfolio, eight gigawatts of which was the corrupt Manufacturing Linked Project.

                 111.    The 2024 Bond Circular contained false and misleading assurances about,

   among other things, the Indian Energy Company's "corporate governance" and touted

   "maintaining transparency and compliance in every aspect of [the company's] operations."

   Additionally, the 2024 Project Companies entered into a subscription agreement with the joint

   bookrunners (the "2024 Joint Bookrunners") for the 2024 144A Bond (the "2024 Subscription

   Agreement"). The 2024 Subscription Agreement included false and misleading representations

   regarding the Indian Energy Company's anti-bribery and anti-corruption practices, similar to the

   2021 Subscription Agreement described above.

                  112.   Moreover, the 2024 Project Companies provided written answers to a

   management due diligence questionnaire similar to the one used in connection with the 2021

   144A Bond in advance of the issuance of the 2024 144A Bond. The answers contained false and

   misleading representations about the Indian Energy Company's anti-bribery practices.

                  113.   Numerous wires, such as electronic messages and financial wires, passed

   within and through the United States, including through the Eastern District ofNew York, in

   connection with the 2024 144A Bond. For example, salespeople employed by the 2024 Joint

   Bookrunners and located in New York City sent and received electronic messages in connection

   with marketing the bond. Ultimately, approximately one quarter of the $750 million 2024 144A

   Bond was allocated to United States-based investors.




                                                  37
Case 1:24-cr-00433-NGG-JRC           Document 1         Filed 10/24/24      Page 38 of 54 PageID #:
                                             38




          D.     The False Statements in the Indian Energy Company Annual Reports

                  114.   Each year, from at least 2021 through 2024, the Indian Energy Company

   publicly released integrated annual reports (the "Reports"). As described above, the defendants

   GAUTAM S. ADAN!, SAGAR R. ADANI and VNEET S. JAAIN served as executives and

   directors of the Indian Energy Company during this time. The Reports included false and

   misleading statements regarding the Indian Energy Company's anti-bribery practices.

                  115.   For example, the 2020 through 2023 Reports falsely stated that the Indian

   Energy Company had a "zero tolerance" policy for bribery and corruption, which policy was

   reviewed by its Board of Directors, when in fact defendants GAUTAM S. ADANI, SAGAR R.

   ADANI and VNEET S. JAAIN, all of whom were members of the Indian Energy Company's

   Board of Directors, were personally engaged in the Bribery Scheme.

                  116.   In or about July 2024, the Indian Energy Company publicly released its

   integrated annual report for the 2023 through 2024 fiscal year (the "2023-2024 Report"), which

   also included false and misleading statements regarding the Indian Energy Company's anti-

   bribery practices. The 2023-2024 Report repeatedly expressed a commitment to "zero-

   tolerance" for bribery and corruption, including stating that the company's "Code of Conduct

   and Policy Commitment" included "Anti-Bribery & Anti-Corruption" commitments, namely

   that: "We maintain a zero-tolerance stance towards all forms of bribery and corruption, whether

   in government or government dealings. We shall cooperate with the governmental authorities in

   efforts to eliminate all forms of bribery, fraud, and corruption. Our employees, contractors and

   business partners are expected to refuse any request/any offer for a bribe or kickback and report

   such instances immediately to the concerned authorities within the organisation."


                                                   38
Case 1:24-cr-00433-NGG-JRC            Document 1         Filed 10/24/24       Page 39 of 54 PageID #:
                                              39




           E.      The False Statements Relating to the United States Government's Investigation

                   117.   In furtherance of the Fraud Scheme, in connection with the publication of

   a news article regarding the United States government's investigation of the Bribery Scheme, the

   defendants GAUTAM S. ADANI and SAGAR R. ADANI made or caused other Conglomerate

   personnel to make false and misleading statements about the Indian Energy Company's

   awareness of the United States government's investigation and the Indian Energy Company's

   anti-bribery practices, including in: (i) public statements to the media and market; (ii) public

   statements to Indian stock exchanges; and (iii) private communications with financial

   institutions.

                   118.    Specifically, on or about March 15, 2024, a news organization published

   an article titled "US Probing Indian Billionaire Gautam Adani and His Group Over Potential

   Bribery," which, among other things, reported that the United States government was

   investigating "whether an Adani entity, or people linked to the company, were involved in

   paying officials in India for favorable treatment on an energy project ...." (the "2024 News

   Article"). As described above, the defendants GAUTAM S. ADANI and SAGAR R. ADANI

   were aware of the FBI Investigation and the Grand Jury Investigation, including because of the

   service of a grand jury subpoena and execution of a search warrant for electronic devices on

   SAGAR R. ADANI that permitted seizure of evidence of criminality by GAUTAM S. ADANI,

   SAGAR R. ADANI and the defendant VNEET S. JAAIN, among others. Despite GAUTAM S.

   ADANI's and SAGAR R. ADANI's knowledge of the investigations, and despite their

   orchestration of the Bribery Scheme, the 2024 News Article contained a quote from the

   Conglomerate that "[w]e are not aware of any investigation against our Chairman [GA UTAM S.


                                                    39
Case 1:24-cr-00433-NGG-JRC             Document 1         Filed 10/24/24       Page 40 of 54 PageID #:
                                               40




   ADANI]" and that "[a]s a business group that operates with the highest standards of governance,

   we are subject to and fully compliant with anti-corruption and anti-bribery laws in India and

   other countries."

                  119.    On or about March 17, 2024, Individual #2, the head of corporate finance

   for the Conglomerate, sent an email to an employee of a financial institution ("Financial

   Institution #3"), which was both a lender for the 2021 Syndicate Loan and a joint bookrunner for

   the 2024 144A Bond, copying the defendant SAGAR R. ADANI, and writing that that the 2024

   News Article was "baseless," "malicious," "defamatory" and that the Conglomerate "operates

   with the highest standards of governance," and is "subject to and fully compliant with anti-

   corruption and anti-bribery laws in India and other countries." On or about the same day,

   Individual #2 sent more than a dozen emails to other financial institutions and investors with

   similar or identical false statements, copying SAGAR R. ADANI.

                   120.   On or about March 19, 2024, Individual #2 emailed employees of

   Financial Institution #2, Financial Institution #3 and Financial Institution #4 letters that the

   Indian Energy Company had sent to the National Stock Exchange of India and BSE Limited,

   both Indian stock exchanges. The letters falsely stated, among other things, that the Indian

   Energy Company "has not received any notice from the Department of Justice of U.S. in respect

   of the allegation referred to in the [2024 News Article]" and that the Indian Energy Company

   was "aware of an investigation" into potential violations of United States anti-corruption laws by

   a "third party." Also included in the email were written responses to questions posed by the

   financial institutions about the subject matter of the 2024 News Article. The written responses

   falsely claimed that the Conglomerate and the Indian Energy Company had not received notice


                                                     40
Case 1:24-cr-00433-NGG-JRC            Document 1        Filed 10/24/24      Page 41 of 54 PageID #:
                                              41




   of the United States government's investigation and included other false and misleading

   statements about the Bribery Scheme and the Indian Energy Company's and the Conglomerate's

   knowledge and awareness of the United States government's investigation.

                  121.   On or about March 20, 2024, employees of Financial Institution #3

   participated in a due diligence call with outside legal counsel for the Conglomerate, during

   which call counsel further reiterated the false statements described above pertaining to the 2024

   News Article. During the call, employees of Financial Institution #3 asked whether the Indian

   Energy Company had knowledge of inquiries or investigations into the alleged bribery and

   corruption and specifically inquired as to whether language in the 2024 Bond Circular indicating

   that the Indian Energy Company was "subject to or exposed to present inquiries and

   investigations under the anti-bribery or anti-corruption laws of other countries" was intended to

   disclose facts about a United States government investigation into the Bribery Scheme. In

   response, counsel for the Conglomerate made the following false and misleading statements,

   among others: (i) risk factor disclosures are "generally drafted widely"; (ii) the Indian Energy

   Company was aware of an investigation relating to a third party, but was unaware of the nature

   of that investigation or whether it impacted the Indian Energy Company; (iii) the Indian Energy

   Company had included the disclosure because it was in the same industry as the third party under

   investigation and had joined/adjacent land parcels; (iv) the Indian Energy Company had not

   received notice or communication from the DOJ with respect to an investigation into the Indian

   Energy Company; and (v) the DOJ had not sought to interview any company personnel.

                  122.    On or about July 25, 2024, employees of Financial Institution #3 had a

   follow-up call with Individual #2 regarding the 2024 News Article and the 2024 Bond Circular.


                                                   41
Case 1:24-cr-00433-NGG-JRC             Document 1          Filed 10/24/24     Page 42 of 54 PageID #:
                                               42




   During the call, Individual #2 falsely stated, among other things, that: (i) no entity or individual

   within the Conglomerate had been approached by any United States authority in connection with

   any investigation into the Conglomerate or its affiliates; (ii) the Conglomerate was not aware of

   any such investigation; (iii) the Conglomerate was not aware of any misconduct; and (iv) the

   2024 News Article was "behind them." Individual #2 indicated that the Conglomerate was not

   willing to provide further written representations about the same topic.

                   123.   These false statements concealed both the United States government's

   investigation and the Bribery Scheme from investors and financial institutions, all to ensure the

   Conglomerate's and the Indian Energy Company's continued access to capital in the United

   States and elsewhere, in furtherance of the Fraud Scheme.

                                             COUNT ONE
                                    (Conspiracy to Violate the FCPA)

                   124.   The allegations contained in paragraphs 1 through 123 are realleged and

   incorporated as if fully set forth in this paragraph.

                   125.    In or about and between 2020 and 2024, both dates being approximate and

   inclusive, within the Eastern District of New York and elsewhere and out of the jurisdiction of

   any particular State or district, the defendants RANJIT GUPTA, CYRIL CABANES,

   SAURABH AGARWAL, DEEPAK MALHOTRA and RUPESH AGARWAL, together with

   Co-Conspirator # 1, Co-Conspirator #2 and others, did knowingly and willfully conspire to

   commit one or more offenses against the United States, to wit:

                           (a)     being an officer, director, employee and agent of an issuer, to make

   use of the mails and means and instrumentalities of interstate commerce corruptly in furtherance

   of an offer, payment, promise to pay, and authorization of the payment of any money, offer, gift,
                                                     42
Case 1:24-cr-00433-NGG-JRC              Document 1         Filed 10/24/24        Page 43 of 54 PageID #:
                                                43




   promise to give and authorization of the giving of anything of value to a foreign official, to a

   foreign political party and official thereof, and to a person, while knowing that all or a portion of

   such money and thing of value would be offered, given and promised, directly and indirectly, to

   a foreign official and to a foreign political party and official thereof, for purposes of:

   (i) influencing acts and decisions of such foreign official, foreign political party and official

   thereof in his, her or its official capacity; (ii) inducing such foreign official, foreign political

   party and official thereof, to do and omit to do acts in violation of the lawful duty of such official

   and party; (iii) securing any improper advantage; and (iv) inducing such foreign official, foreign

   political party and official thereof, to use his, her or its influence with a foreign government and

   agencies and instrumentalities thereof to affect and influence acts and decisions of such

   government and agencies and instrumentalities, in order to assist the U.S. Issuer in obtaining and

   retaining business for and with, and directing business to the Indian Energy Company, the Indian

   Energy Company's subsidiaries, the U.S. Issuer, the U.S. Issuer's Subsidiary, subsidiaries of the

   U.S. Issuer's Subsidiary, the Canadian Investor, the Canadian Investor's Subsidiary and others,

   contrary to Title 15, United States Code, Section 78dd-l; and

                           (b)     while in the territory of the United States, corruptly to make use of

   the mails and means and instrumentalities of interstate commerce and to do any act in

   furtherance of an offer, payment, promise to pay, and authorization of the payment of any

   money, offer, gift, promise to give and authorization of the giving of anything of value to a

   foreign official, to a foreign political party and official thereof, and to a person, while knowing

   that all or a portion of such money and thing of value would be offered, given and promised to a

   foreign official and to a foreign political party and official thereof, for purposes of:


                                                      43
Case 1:24-cr-00433-NGG-JRC              Document 1         Filed 10/24/24        Page 44 of 54 PageID #:
                                                44




   (i) influencing acts and decisions of such foreign official, foreign political party and official

   thereof in his, her or its official capacity; (ii) inducing such foreign official, foreign political

   party and official thereof to do and omit to do acts in violation of the lawful duty of such official

   and party; (iii) securing any improper advantage; and (iv) inducing such foreign official, foreign

   political party and official thereof to use his, her or its influence with a foreign government and

   agencies and instrumentalities thereof to affect and influence acts and decisions of such

   government and agencies and instrumentalities, in order to assist CABANES, SAURABH

   AGARWAL, Co-Conspirator# I and others in obtaining and retaining business for and with, and

   directing business to the Indian Energy Company, the Indian Energy Company's subsidiaries, the

   U.S. Issuer, the U.S. Issuer's Subsidiary, subsidiaries of the U.S. Issuer's Subsidiary, the

   Canadian Investor, the Canadian Investor's Subsidiary and others, contrary to Title 15, United

   States Code, Section 78dd-3.

                   126.    In furtherance of the conspiracy and to effect its objects, within the

   Eastern District of New York and elsewhere, the defendants RANJIT GUPTA, CYRIL

   CABANES, SAURABH AGARWAL, DEEPAK MALHOTRA and RUPESH AGARWAL,

   together with others, committed and caused the commission of, among others, the following:

                                               OVERT ACTS

                           (a)     On or about November 24, 2020, GUPTA exchanged electronic

   messages with the defendant SAGAR R. ADANI regarding efforts to convince states to purchase

   power under the Manufacturing Linked Project, as a part of which GUPTA wrote, "the

   advantage we have is that the discoms are being motivated."




                                                      44
Case 1:24-cr-00433-NGG-JRC           Document 1        Filed 10/24/24      Page 45 of 54 PageID #:
                                             45




                         (b)    On or about March 30, 2021, GUPTA sent an electronic message

   to SAGAR R. ADANI asking, "any progress on our PSAs ??"

                         (c)    On or about April 29, 2022, RUPESH AGARWAL and Co-

   Conspirator #1 met with the defendants GAUTAM S. ADANI, SAGAR R. ADANI and VNEET

   S. JAAIN in India, during which meeting they discussed the Bribery Scheme.

                         (d)    On or about May 6, 2022, CABANES, while in the United States,

   exchanged electronic messages with Co-Conspirator # 1 about the Bribery Scheme, as a part of

   which CABANES asked Co-Conspirator# I ifthere was "a commercially doable deal."

                         (e)    On or about May 6, 2022, SAURABH AGARWAL exchanged

   electronic messages with Co-Conspirator # 1 about the Bribery Scheme, as a part of which

   SAURABH AGARWAL asked, "when do you think [RUPESH AGARWAL] is completing

   analysis?"

                         (f)     On or about May 12, 2022, SAURABH AGAR WAL, while in the

   United States, exchanged electronic messages with Co-Conspirator #1, as a part of which Co-

   Conspirator # 1 informed SA URABH AGARWAL that RUPESH AGARWAL had a meeting

   with the defendant VNEET S. JAAIN that same day and "Views exchanged. No resolution. Ball

   with [JAAIN] to review for next [meeting]." SAURABH AGARWAL responded with a

   thumbs-up emoji and "K."

                         (g)     On or about May 17, 2022, GUPTA sent an electronic message to

   SAURABH AGARWAL that stated, among other things, "Just wanted to let you know that since

   [Co-Conspirator #2] & i [sic] are not part of [the U.S. Issuer] any more, Adani would like to take

   up discussions related to the SECI Manufacturing [Linked Project] directly with you. We are


                                                  45
Case 1:24-cr-00433-NGG-JRC            Document 1        Filed 10/24/24      Page 46 of 54 PageID #:
                                              46




   always available to help with the successful execution of this prestigious ppa for which, as you

   already know, close coordination with Adani will be required."

                         (h)     On or about May 28, 2022, SAURABH AGARWAL, while in the

   United States, had a call with the defendant GAUTAM S. ADANI about the Bribery Scheme.

                         (i)     On or about May 31, 2022, Co-Conspirator # 1 exchanged

   electronic messages with CABANES, as a part of which Co-Conspirator # 1 told CABANES that

   RUPESH AGARWAL had a "BAD" meeting with the defendants GATAUM S. ADANI,

   SAGAR R. ADANI and VNEET S. JAAIN and that RUPESH AGARWAL and MALHOTRA

   were "fleshing out our options."

                         0)      On or about May 31, 2022, in response to the message referred to

   above in paragraph 126(i), CABANES sent an electronic message to Co-Conspirator # I asking,

   "[s]o we have a potential deal on the table?"

                          (k)    On or about June 13, 2022, RUPESH AGARWAL used his

   personal email account to send a PowerPoint titled "I SLIDE.pptx" that outlined a proposal to

   satisfy a portion of the corrupt payment to the Indian Energy Company by returning the 2.3 GW

   PPAs to SECI for ultimate "re-allocation" to the Indian Energy Company.

                          (1)    On or about June 14, 2022, RUPESH AGARWAL and Co-

   Conspirator #1 met with the defendants GAUTAM S. ADANI, SAGAR R. ADANI and VNEET

   S. JAAIN in India, during which meeting RUPESH AGARWAL and Co-Conspirator# I agreed

   that the U.S. Issuer and/or its subsidiaries would return the 2.3 GW PPAs to SECI to facilitate

   the Indian Energy Company's subsidiary's acquisition of the valuable 2.3 GW PPAs and, in




                                                   46
Case 1:24-cr-00433-NGG-JRC             Document 1          Filed 10/24/24   Page 47 of 54 PageID #:
                                               47




   addition, that the U.S. Issuer and/or its subsidiaries would pay the Indian Energy Company,

   directly or indirectly, 550 million INR (approximately $7 million).

                          (m)     On or about June 23, 2022, CABANES sent an electronic message

   to Co-Conspirator #1, who was then located in the United States, about the return of the 2.3 GW

   PPAs to SECI, stating "Hi [Co-Conspirator #1], what's the plan with regards to the board

   decision on the PPAs?"

                          (n)     On or about September 30, 2022, CABANES, SAURABH

   AGARWAL, MALHOTRA, RUPESH A GAR WAL and Co-Conspirator # 1 had a virtual

   meeting, during which meeting they agreed to withhold information and provide false

   information related to the Bribery Scheme to investigators and the U.S. Issuer's Boards of

   Directors.

                          (o)     On or about March 29, 2023 and on or about May 18, 2023, Co-

   Conspirator # 1 met with representatives of the United States government in Brooklyn, New York

   and made false statements about the Bribery Scheme.

                          (p)     On or about June 28, 2023, CABANES met with representatives of

   the United States government in Brooklyn, New York and made false statements about the

   Bribery Scheme.

                  (Title 18, United States Code, Sections 371, 3238 and 3551 et seq.)

                                             COUNTTWO
                                      (Securities Fraud Conspiracy)

                   127.   The allegations contained in paragraphs 1 through 123 are realleged and

   incorporated as if fully set forth in this paragraph.



                                                     47
Case 1:24-cr-00433-NGG-JRC            Document 1         Filed 10/24/24      Page 48 of 54 PageID #:
                                              48




                  128.     In or about and between 2021 through the present, both dates being

   approximate and inclusive, within the Eastern District of New York and elsewhere and out of the

   jurisdiction of any particular State or district, the defendants GAUTAM S. ADANI, SAGAR R.

   ADAN! and VNEET S. JAAIN, together with others, did knowingly and willfully conspire to

   use and employ manipulative and deceptive devices and contrivances, contrary to Rule I 0b-5 of

   the Rules and Regulations of the United States Securities and Exchange Commission, Title 17,

   Code of Federal Regulations, Section 240.1 0b-5, by: (i) employing one or more devices,

   schemes and artifices to defraud; (ii) making one or more untrue statements of material fact and

   omitting to state one or more material facts necessary in order to make the statements made, in

   light of the circumstances under which they were made, not misleading; and (iii) engaging in one

   or more acts, practices and courses of business which would and did operate as a fraud and deceit

   upon one or more investors and potential investors in the 2021 144A Bond and 2024 144A Bond,

   in connection with the purchase and sale of investments in the 2021 144A Bond and 2024 144A

   Bond, directly and indirectly, by use of means and instrumentalities of interstate commerce and

   the mails, contrary to Title 15, United States Code, Sections 78j(b) and 78ff.

                  129.    In furtherance of the conspiracy and to effect its objects, within the

   Eastern District ofNew York and elsewhere, the defendants GAUTAM S. ADANI, SAGAR R.

   ADANI and VNEET S. JAAIN, together with others, did commit and cause the commission of,

   among others, the following:




                                                    48
Case 1:24-cr-00433-NGG-JRC             Document 1          Filed 10/24/24   Page 49 of 54 PageID #:
                                               49




                                              OVERT ACTS

                            (a)    On or about August 26, 2021, the Management Committee of the

   Indian Energy Company, which included SAGAR R. ADANI and JAAIN, passed a resolution

   authorizing the Indian Energy Company to issue securities in the amount of $750 million.

                            (b)    In or about August 2021, SAGAR R. ADANI participated in a

   recorded roadshow presentation marketing the 2021 144A Bond, which recording was replayed

   for investors, including United States-based investors.

                            (c)    In or about November 2021, GAUTAM S. ADAN!, SAGAR R.

   ADANI and JAAIN each approved a formal "Note for Approval" authorizing the Indian Energy

   Company to make use of the 2021 144A Bond proceeds and pass any necessary Board of

   Directors resolutions.

                            (d)    On or about December 27, 2022, JAAIN executed a Compliance

   Certificate on behalf of the Indian Energy Company in connection with the 2021 144A Bond.

                  (Title 18, United States Code, Sections 371, 3238 and 3551 et seq.)

                                            COUNT THREE
                                         (Wire Fraud Conspiracy)

                   130.     The allegations contained in paragraphs 1 through 123 are realleged and

   incorporated as if fully set forth in this paragraph.

                   131.     In or about and between 2021 through the present, both dates being

   approximate and inclusive, within the Eastern District of New York and elsewhere and out of the

   jurisdiction of any particular State or district, the defendants GAUTAM S. ADAN!, SAGAR R.

   ADANI and VNEET S. JAAIN, together with others, did knowingly and intentionally conspire

   to devise a scheme and artifice to defraud current and prospective lenders and investors in
                                                     49
Case 1:24-cr-00433-NGG-JRC             Document 1          Filed 10/24/24   Page 50 of 54 PageID #:
                                               50




   financial transactions, including the 2021 Syndicate Loan, 2021 144A Bond, 2023 Syndicate

   Loan and 2024 144A Bond, and to obtain money and property from them by means of one or

   more materially false and fraudulent pretenses, representations and promises, and for the purpose

   of executing such scheme and artifice, to transmit and cause to be transmitted by means of wire

   communication in interstate and foreign commerce, writings, signs, signals, pictures and sounds,

   contrary to Title 18, United States Code, Section 1343.

                  (Title 18, United States Code, Sections 1349, 3238 and 3551 et seq.)

                                             COUNTFOUR
                                (Securities Fraud -the 2021 144A Bond)

                   132.   The allegations contained in paragraphs 1 through 123 are realleged and

   incorporated as if fully set forth in this paragraph.

                   133.    In or about and between 2021 through the present, both dates being

   approximate and inclusive, within the Eastern District ofNew York and elsewhere and out of the

   jurisdiction of any particular State or district, the defendants GAUTAM S. ADANI, SAGAR R.

   ADAN! and VNEET S. JAAIN, together with others, did knowingly and willfully conspire to

   use and employ manipulative and deceptive devices and contrivances, contrary to Rule 10b-5 of

   the Rules and Regulations of the United States Securities and Exchange Commission, Title 17,

   Code of Federal Regulations, Section 240. lOb-5, by: (i) employing one or more devices,

   schemes and artifices to defraud; (ii) making one or more untrue statements of material fact and

   omitting to state one or more material facts necessary in order to make the statements made, in

   light of the circumstances under which they were made, not misleading; and (iii) engaging in one

   or more acts, practices and courses of business which would and did operate as a fraud and deceit

   upon one or more investors and potential investors in the 2021 144A Bond, in connection with

                                                     50
Case 1:24-cr-00433-NGG-JRC             Document 1          Filed 10/24/24    Page 51 of 54 PageID #:
                                               51




   the purchase and sale of investments in the 2021 144A Bond, directly and indirectly, by use of

   means and instrumentalities of interstate commerce and the mails.

                  (Title 15, United States Code, Sections 78j(b) and 78ff; Title 18, United States

   Code, Sections 2, 3238 and 3551 et seq.)

                                             COUNT FIVE
                                     (Conspiracy to Obstruct Justice)

                   134.   The allegations contained in paragraphs 1 through 123 are realleged and

   incorporated as if fully set forth in this paragraph.

                   135.    In or about and between 2022 and the present, both dates being

   approximate and inclusive, within the Eastern District of New York and elsewhere and out of the

   jurisdiction of any particular State or district, the defendants CYRIL CABANES, SAURABH

   AGARWAL, DEEPAK MALHOTRA and RUPESH AGARWAL, together with others, did

   knowingly and intentionally conspire to corruptly alter, destroy, mutilate, and conceal a record,

   document, and other object with intent to impair the object's integrity and availability for use in

   an official proceeding and obstruct, influence and impede official proceedings, to wit: the Grand

   Jury Investigation, the FBI Investigation and the SEC Investigation, contrary to Title 18, United

   States Code, Sections 1512(c)(1) and (2).

                   (Title 18, United States Code, Sections 1512(k), 3238 and 3551 et seq.)




                                                     51
Case 1:24-cr-00433-NGG-JRC             Document 1          Filed 10/24/24      Page 52 of 54 PageID #:
                                               52




                             CRIMINAL FORFEITURE ALLEGATION
                           AS TO COUNTS ONE, TWO, FOUR, AND FIVE

                   136.    The United States hereby gives notice to the defendants charged in Counts

   One, Two, Four and Five that, upon their conviction of any of such offenses, the government will

   seek forfeiture in accordance with Title 18, United States Code, Section 981 (a)(l )(C) and

   Title 28, United States Code, Section 2461 (c), which require any person convicted of such

   offenses to forfeit any property, real or personal, constituting, or derived from, proceeds obtained

   directly or indirectly as a result of such offenses.

                   137.    If any of the above-described forfeitable property, as a result of any act or

   omission of the defendants:

                           (a)     cannot be located upon the exercise of due diligence;

                           (b)     has been transferred or sold to, or deposited with, a third party;

                           (c)     has been placed beyond the jurisdiction of the court;

                           (d)     has been substantially diminished in value; or

                           (e)     has been commingled with other property which cannot be divided

   without difficulty;

   it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

   seek forfeiture of any other property of the defendants up to the value of the above forfeitable

   property.

                   (Title 18, United States Code, Section 981(a)(l)(C); Title 21, United States Code,

   Section 853(p), Title 28, United States Code, Section 246I(c))




                                                      52
Case 1:24-cr-00433-NGG-JRC             Document 1         Filed 10/24/24      Page 53 of 54 PageID #:
                                               53




                                CRIMINAL FORFEITURE ALLEGATION
                                      AS TO COUNT THREE

                  138.    The United States hereby gives notice to the defendants charged in Count

   Three that, upon their conviction of such offense, the government will seek forfeiture in

   accordance with Title 18, United States Code, Section 982(a)(2)(A), which requires any person

   convicted of such offense, to forfeit any property constituting, or derived from, proceeds

   obtained directly or indirectly as a result of such offense.

                   139.   If any of the above-described forfeitable property, as a result of any act or

   omission of the defendants:

                          (a)     cannot be located upon the exercise of due diligence;

                          (b)     has been transferred or sold to, or deposited with, a third party;

                          (c)     has been placed beyond the jurisdiction of the court;

                          (d)     has been substantially diminished in value; or

                          (e)     has been commingled with other property which cannot be divided

   without difficulty;

   it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), as

   incorporated by Title 18, United States Code, Section 982(b)( 1), to seek forfeiture of any other




                                                     53
Case 1:24-cr-00433-NGG-JRC             Document 1         Filed 10/24/24        Page 54 of 54 PageID #:
                                               54




    property of the defendants up to the value of the fotfeitable property described in this forfeiture

    allegation.

                   (Title 18, United States Code, Sections 982(a)(2)(A) and 982(b)(1 ); Title 21, United

    States Code, Section 853(p))




                                                             /)          A 1RUE~U,L

                                                                               s/                ><




    BREON PEACE
    United States Attorney
    Eastern District ofNew York




     GLENNS.LEON
     Chief, Fraud Section
     Criminal Division
    United States Department of Justice




                                                     54
